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    1   ANN M. SMITH, ESQ. (SBN 120733)
        SMITH, STEINER, VANDERPOOL
    2      & WAX, APC
        401 West A Street, Suite 320
    3   San Diego, CA 921 0 1
        Telephone: 619-239-7200
    4   Fax: 619-239-6048
    5   Attorneys for Plaintiffs
    6

    7

    8                              UNITED STATES DISTRICT COURT
    9                          SOUTHERN DISTRICT OF CALIFORNIA
   10   CANDACE MITCHELL; JENNIFER )                 CASE NO. '17CV2014 H         AGS
        BECKER; KEITH BOOTHE; GRANT )
   11 BOWERS; GAVIN BROATCH;
        ISABELLE CAMACHO; KENT
   12 CUEVAS; MARY ENYEART;
        ALEXANDER MILO FLORES;
   13 PATRICIA FOSS; JENNIFER
                                            )
                                            )
                                                 l   COMPLAINT FOR OVERTIME WAGES
                                                     UNDER FAIR LABOR STANDARDS
                                                     ACT
        GERAN; JAMES A. GOLDEN;                      [29 U.S.C. §§ 201 et seq.]
   14 THAIRAHAMMI; RYAN HAY;                )
        CYNTHIA HERNANDEZ;                  )
   15 STEPHANIE HOOVER; MIGUEL              )        JURY TRIAL DEMANDED
        HUERTA; GRAHAM HUFFORD;             )
   16 WAYNE JARRELL; ANAS M.                )
        KAZIHA; TERI KIPNIS;                )
   17 NICOLAS B. MANANSALA;                 )
        ERIKA MCNEILL; GABRIELLE            )
   18 MEAD; DEBRA OWEN; ALEC                )
        PHILLIPP; MICHAEL PRINZ;            )
   19 STEVEN RAMIREZ; PETE RAZO;            )
        ANTHONY REA; ARNILDA REYES; )
   20 · CATHERINE RIVERA; SCOTT             )
        ROBINSON; RICHARD RUSSELL; )
   21 JIM SILVERSTEIN; CLEMENS              )
        WASSENBERG; DANIEL WEISS;           )

                                                 l
   22 LORETTA WILLIAMS; CODY                )
        WILKINSON; GREGORY WOODS, )
   23 on behalf of themselves and all other
        employees similarly situated,
   24
                     Plaintiffs,
   25
               v.
   26
        CITY OF SAN DIEGO,
   27
                Defendant.
   28   ________________________ )

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    I                                                    I.
    2                                          JURISDICTION
    3          1.      This Court has subject matter jurisdiction over this action pursuantto 28 U.S.C.
    4   §§ 1331 and 1343(3), because the controversy arises under a law of the United States,
    5   specifically, the Fair Labor Standards Act of 1938, 29 U.S.C. §§ 201 et seq. ("FLSA"), and
    6   thus presents a federal question.
    7                                                    II.
    8                                                  VENUE
    9          2.      Venue is proper in the Southern District of California pursuant to 28 U.S.C.
   10   § 139l(b) because the City of San Diego is in this federal district and the acts, events, or
   II   omissions giving rise to the claims occurred in this District.
   12                                                   III.
   13                                             PARTIES
   14          3.      Plaintiffs are current or former employees of the City of San Diego who bring
   15   this action on their own behalf and, pursuant to 29 U.S.C. § 216(b), on behalf of all other
   16   non-exempt employees and former employees similarly situated, to recover underpaid
   17   overtime compensation, liquidated damages, interest, attorneys' fees and costs. Each
   18   Plaintiffs written consent to become a party to this action is being contemporaneously filed
   19   or will be filed in the future pursuant to 29 U.S.C. § 216(b). This is a proposed collective
   20   action for which Plaintiffs seek timely conditional certification with notice and a consent to
   21   join form sent to all similarly situated non-exempt current and former employees informing
   22   them of their right to opt-into this action.
   23          4.      Defendant City of San Diego ("Defendant" or "City"), is or at all relevant times
   24   was, each Plaintiffs employer. Defendant is a Charter City and a political subdivision of the
   25   State of California.
   26   Ill
   27   Ill
   28   Ill

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    1                                                IV.
    2                                  GENERAL ALLEGATIONS

    3          5.     City recognizes its obligation to comply with the FLSA. Pursuant to City's
    4   Charter, the San Diego City Council adopts a Salary Ordinance annually. At all relevant
    5   times, these Salary Ordinances have included an express provision identical to the one stated
    6   in Salary Ordinance 0-20817, adopted on April25, 2017: "WHEREAS, the United States
    7   Supreme Court in Garcia v. San Antonio Metropolitan Transit Authority, 469 U.S. 528
    8   (1985), held that the provisions of the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 et
    9   seq., as they relate to overtime pay, are applicable to states, cities, and local agencies,
   10   including the City; and WHEREAS, it is necessary to ensure compliance with the FLSA,
   11   including all applicable case law interpreting the FLSA and applicable regulations [ ... ] BE
   12   IT ORDAINED, by the Council of the City of San Diego, as follows (in pertinent part):
   13                 Section 3.    Compliance with the FLSA
   14                 Full-time employees in the classifications listed in the Personnel
                      ManualindexCodeH-4,AddendumA, Groups A, B, C [... ],are
   15                 not exempt under the FLSA and are eligible for premium rate
                      overtime based on the employee's scheduled workweek.
   16                 Premium rate overtime will be computed in accordance with the
                      FLSA, including all applicable cases interpretingtheFLSA, and
   17                 with all applicable regulations."
   18   Each Plaintiff and those similarly-situated is or was employed in a job classification in
   19   Groups A, B, or C.
   20          6.     City has also adopted Personnel Manual Index Code H-4 (last amended June
   21   6, 2013) and Administrative Regulation 95.01 (effective August 27, 1986) for purposes of
   22   FLSA compliance. These overtime compensation provisions cover Plaintiffs and all those

   23   similarly situated.
   24          7.     Plaintiffs and those current or former employees similarly situated are or were
   25   non-exempt employees of City who worked more than forty hours in one or more 7-day work
   26   weeks during the relevant three-year period. Each was paid an overtime rate of pay for these
   27   FLSA-eligible overtime hours worked. Each was entitled to have his or her premium
   28   overtime rate of pay determined by reference to his or her "regular rate of pay," which is


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    1 defined under 29 U.S.C. § 207(e) as "all remuneration for employment paid to, or on behalf
    2   of, the employee," subject to a number of exclusions set forth in the FLSA.
    3          8.      During each workweek when Plaintiffs and those similarly situated worked
    4   FLSA-eligible overtime, each was also a participant in City's Flexible Benefits Plan ("FBP")
    5   entitling him or her to an annual lump sum of money, commonly known as "flex dollars," to
    6   be used for the purchase of health and welfare benefits (by payments made by City on
    7   employees' behalf to trustees or third parties) or otherwise taken in various forms known as
    8   "cash-in-lieu" payments.
    9          9.     During the relevant period, City did not count or include any of these "flex
   10   dollars" as eligible "remuneration" when determining the employee's premium overtime rate
   11   payable for that workweek. Each Plaintiff and all similarly-situated non-exempt current and
   12   former employees have been affected by the City's conduct in the same manner because
   13   City's policy and practice of excluding all FBP-related compensation from eligible
   14   "remuneration" when calculating an employee's regular and premium overtime rates of pay
   15   has been uniformly applied to all Plaintiffs and others similarly situated when they have
   16   worked in excess of 40 hours in a 7-day work week during the relevant period.
   17          10.    On or about June 30,2017, City notified all City employees by e-mail that,
   18   effective July 1, 2017, "in accordance with recent changes to federal law regarding FLSA
   19   overtime," the City "will include in an employee's FLSA overtime calculations the cash
   20   value of any flexible benefit credits that they did not use to pay for health, dental, vision or
   21   life insurance." The City subsequently acknowledged in writing that the e-mail notification's
   22   reference to "recent changes to federal law regarding FLSA overtime," refers to the decision
   23   rendered in Flores v. City of San Gabriel (9th Cir. 2016) 824 F. 3d 890, review denied on
   24   May 15, 2017 ("Flores"), addressing the proper treatment of an employer's "flex dollars"
   25   when determining what "remuneration" to include in an employee's "regular rate ofpay" and
   26   what amount to pay as a premium for FLSA-eligible overtime.
   27   Ill
   28   Ill

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    1                                                  v.
    2                                    FIRST CLAIM FOR RELIEF
    3          11.     The allegations set forth in paragraphs 5 through 10 are hereby incorporated
    4   by reference as if fully set forth.
    5          12.     At all relevant times, each Plaintiff and those similarly-situated was or is a non-
    6   exempt employee of City employed in a job classification eligible to earn premium rate
    7   overtime under the FLSA for all time worked in excess of 40 hours in a 7-day work week.
    8   Each Plaintiff and those similarly-situated did in fact work such FLSA-eligible overtime
    9   during the three-year period before the filing of this complaint and/or before the filing ofhis
   10   or her Consent to become a party plaintiff, and the City was obligated to pay him or her
   11   overtime calculated at one-and-one-half times his/her regular rate of pay, with that rate
   12   calculated to include all eligible "remuneration" in accordance with 29 U.S.C. § 207(e).
   13          13.     At all relevant times, as a participant in City's FBP, an IRS-qualified cafeteria-
   14   style benefits program, each Plaintiff and those similarly situated had "flex dollars" available
   15   as a form of compensation in addition to wages earned, with the option to take those "flex
   16   dollars" in various cash forms in lieu of third-party-provided health and welfare benefits.
   17          14.     When determining an employee's "regular rate of pay" for FLSA-eligible
   18   overtime worked, the full amount of these cash-in-lieu of benefits payments constituted
   19   "remuneration" and could not properly be treated as payments to an employee "not made as
   20   compensation for his/her hours of employment" within the meaning of the exclusion set forth
   21   in § 207( e)(2). (Flores, supra [such payments must be included in the "regular rate"]).
   22          15.     The City failed to count or include these cash-in-lieu of benefits payments
   23   under its FBP as remuneration when determining an employee's "regular rate" of pay.
   24   Because the City excluded these payments, they are not incorporated into the City's
   25   calculation of the employee's overtime rate. In this manner, the City underpaid Plaintiffs and
   26   others similarly-situated for FLSA-eligible overtime hours worked because the premium
   27   overtime rates paid did not represent time-and-one-half their eligible "regular rates" of pay.
   28   Ill

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    I          16.     Each Plaintiff and those similarly-situated are entitled to receive the full
    2   amount ofFLSA-eligible premium rate overtime earned during the relevant period based on
    3   a "regular rate of pay" which includes all cash-in-lieu ofbenefits payments as remuneration.
    4          17.     Each Plaintiff and those similarly situated are also presumptively entitled to
    5   liquidated damages in an amount equal to the amount of the underpaid overtime City owes.
    6   City did not act in good faith with reasonable grounds to believe that it was not in violation
    7   of the FLSA and took no affinnative action to assure its FLSA compliance at any time before
    8 Flores was decided by the District Court in 2013 (969 F. Supp.2d 1158), while it was
    9 pending on appeal, or after the Ninth Circuit's Flores decision was rendered in June 2016.
   I0          18.     City's violation ofthe FLSA as described herein was wilful within the meaning
   II   of29 U.S.C. § 255(a) because City acted voluntarily and deliberately when maintaining an
   12   intentional practice of failing to compensate Plaintiffs and others similarly situated in
   13   accordance with the FLSA. City continues to fail and refuse to compensate Plaintiffs and
   14   others similarly situated for City's underpayment ofFLSA-eligible overtime hours worked.
   15                                                 VI.
   16                                  SECOND CLAIM FOR RELIEF
   17          19.     The allegations set forth in paragraphs 5 through 10 are hereby incorporated
   18   by reference as if fully set forth.
   19          20.     In addition to cash-in-lieu ofbenefits payments made under its FBP, City also
   20   made payments on employees' behalf to trustees or third parties for health, dental, vision, life
   21   or similar insurance benefits. Under § 207(e)(4), such "contributions irrevocably made
   22   pursuant to a bona fide plan" may be excluded from the regular rate of pay when calculating
   23   premium rate FLSA overtime. However, for a plan to retain its bona fide status within the
   24   meaning of§ 207(e)(4), the plan must not give an employee the option to receive any part
   25   of the employer's contributions in cash instead of the benefits under the plan, or, if some cash
   26   payment to an employee is allowed, it must be an incidental part of the plan.
   27          21.     On information and belief, City's total cash-in-lieu ofbenefits payments under
   28   its FBP were sufficiently large as a percentage of City's total contributions during each

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    1 relevant year that these payments could not lawfully be deemed incidental within the
    2 meaning of§ 207(e)(4) and 29 C.P.R. § 778.215(a)(5), and, thus, could not lawfully be
    3   excluded from a determination of"remuneration" and regular rates of pay. (See Flores.)
    4          22.    Accordingly, in addition to counting any cash-in-lieu of benefits payments as
    5 remuneration when determining an employee's "regular rate of pay" under the FLSA, City
    6   was obligated to include as qualifYing remuneration all "flex dollars" which City paid to
    7 trustees or third parties on an employee's behalf under its FBP.
    8          23.    Having failed to count these additional "flex dollars" paid to trustees or third
    9 parties as remuneration, and thus having excluded the value of these payments from its
   10   determination of an employee's "regular rate of pay," the City has further underpaid the
   11   overtime earned by and owed to Plaintiffs and others similarly-situated.
   12          24.    Each Plaintiff and those similarly-situated are entitled to receive the full
   13   amount ofFLSA-eligible premium rate overtime earned based on a "regular rate of pay"
   14   which includes as remuneration all "flex dollars" which City paid to trustees or third parties
   15   on an employee's behalf under its FBP.
   16          25.    Each Plaintiff and those similarly situated are also presumptively entitled to
   17   liquidated damages in an amount equal to the amount of the underpaid overtime City owes.
   18   City did not act in good faith with reasonable grounds to believe that it was not in violation
   19   of the FLSA and took no affirmative action to assure its FLSA compliance at any time before
   20   Flores was decided by the District Court in 2013 (969 F. Supp.2d 1158), while it was
   21   pending on appeal, or after the Ninth Circuit's Flores decision was rendered in June 2016.
   22          26.    City's violation oftheFLSA as described herein was wilful within the meaning
   23   of29 U.S. C. § 255(a) because City acted voluntarily and deliberately when maintaining an
   24   intentional practice of failing to compensate Plaintiffs and others similarly situated in
   25   accordance with the FLSA. City continues to fail and refuse to compensate Plaintiffs and
   26   others similarly situated for City's underpayment ofFLSA-eligible overtime hours worked.
   27          27.    As City's notice to employees dated June 30,2017 confirms (see paragraph 10
   28   above), City is continuing to violate the FLSA by excluding from remuneration those

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    1 contributions irrevocably being made to third party insurers under its FBP in reliance on the
    2   bonafide status of its FBP under§ 207(e)(4) despite the now-final decision in Flores holding
    3   that this exclusion is not likely available to City's plan.
    4          WHEREFORE, Plaintiffs pray for relief as follows:
    5          1.     That Notice be given to current and formernon-exempt employees of City who
    6   have worked FLSA-eligible overtime during the relevant period while also participating in
    7   City's FBP informing them of their right to join in this action without retaliation;
    8          2.     That judgment be entered against the City in the amounts respectively due the
    9   Plaintiffs and other similarly situated non-exempt employees and former employees of the
   10   City for underpaid FLSA-eligible overtime compensation, liquidated damages, and
   11   prejudgment interest as the Court may determine pursuant to 29 U.S.C. § 216(b );
   12          3.     That a permanent injunction be entered pursuant to 29 U.S.C. § 217 restraining
   13   the City from further violations of the Fair Labor Standards Act on the basis of the
   14   remuneration it pays employees under its Flexible Benefits Plan or otherwise;
   15          4.     That reasonable attorneys' fees and costs and expenses of suit be awarded
   16   pursuant to 29 U.S.C. § 216(b); and,
   17          5.     For such additional and further relief as this Court may deem just.
   18

   19   Dated: September 29, 2017            Respectfully submitted,
   20                                        SMITH, STEINER, VANDERPOOL & WAX, APC
   21
   22                                        By:    s/Ann M. Smith
                                             Attorneys for Plaintiffs CANDACE MITCHELL, et al.
   23                                        E-mail: asmith@ssvwlaw.corn
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